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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


IN RE: JOHNSON & JOHNSON             MDL No. 16-2738 (MAS) (RLS)
TALCUM POWDER PRODUCTS
MARKETING, SALES
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION


THIS DOCUMENT RELATES TO
ALL CASES



 THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF
      LAW IN SUPPORT OF IT MOTION TO EXCLUDE THE
              OPINIONS OF DR. JOHN KORNAK
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        The PSC respectfully files this motion to exclude the testimony of John Kornak

Sutcliffe, Ph.D., a biostatistician. The PSC incorporates as if set forth in entirety the legal

standards set forth in The Plaintiffs’ Steering Committee’s Brief Regarding the Rule 702

Standard (“Rule 702 Standard Brief”).

I.      Introduction.

        On May 15, 2024, scientists from the National Institutes of Health (NIH), National

Institute for Environmental Health Sciences (NIEHS) and National Cancer Institute

(NCI)—scientists that J&J previously called “preeminent”1—published a study entitled

O’Brien, et al., Intimate Care Products and Incidence of Hormone Related Cancers: A

Quantitative Bias Analysis, J. Clin. Oncol., 00:1-15 (May 15, 2024) (“O’Brien 2024”).

(Ex. 1.) The O’Brien 2024 study arose from the NIH “Sister Study,” a long-running

cohort examining cancer. The study “supports a positive association between genital talc

use and ovarian cancer consistent with previous studies.” Id. at 13.

        After publication, the NIH highlighted O’Brien 2024 as a study that “provides

compelling evidence that genital talc use is associated with an increased risk of

ovarian cancer.” (Ex. 2, NIH/NIEHS Environmental Factor, (Jun. 2024), at 1.) It also

noted that O’Brien 2024 found the “strongest associations observed for frequent use and

long-term users and for use during the reproductive years.” Id. at 2. According to the




1
    See Doc. 32026 at 11.
                                              1
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NIH, O’Brien 2024 “incorporates rigorous adjustments for biases” through its

“especially unique” methodology called “quantitative bias analysis.” Id. at 1.

      O’Brien 2024’s authors explained that, as part of their quantitative bias analysis,

the authors consulted a statistical process called “multiple imputation,” which is a

method designed to deal with missing data. (Ex. 1, O’Brien 2024 at 4.) Accompanying

the O’Brien 2024 publication was an invited editorial that also concluded that its

quantitative bias analysis and recall bias analyses were reliable, and that the data derived

from the use of those methods supported a “significant increase in ovarian cancer risk.”

(Ex. 3, Harris, et al., Epidemiologic Methods to Advance Our Understanding of Ovarian

Cancer Risk, J. Clin. Oncol 001:3 (May 15, 2024), at 1.)

      Within days of O’Brien 2024’s publication, J&J’s attorneys employed an expert

headhunting outfit called “Cornerstone,” which led the attorneys to John Kornak, Ph.D.,

a biostatistician. Kornak initially wrote his report just three days after being contacted

and continued to revise his report after his completion of his read of the O’Brien study.

(Ex. 4, Kornak’s Invoice.)

      Kornak’s final report is without context or relation to other evidence and scientific

literature supporting or refuting causation. (Ex. 5, Expert Report of John Kornak, Ph.D.

(May 28, 2024).) Rather, the focus of his report is to relitigate the peer-reviewed

statistical methods NIH authors used and fully disclosed—quantitative bias analysis and

the multiple imputation methodology. Using non-scientific descriptors that more likely

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mirror J&J’s legal briefs, Kornak calls the O’Brien 2024 study methods “contrived” and

“vacuous,” id. at 36 ¶ 74, and accuses the NIH authors of “guess[ing],” “assum[ing],”

and otherwise manipulating their data, id. at 18 ¶ 40. Kornak concluded that the study

methods were “flawed and unreliable” and should not have been published. Id. at 19

¶ 42.

        Kornak’s deposition testimony reveals the dismissive nature of his attack on the

methods of this peer-reviewed paper. He flatly disagreed with the entire peer review

process and every scientist who reviewed and accepted the paper:

              Q.    [O’Brien 2024] went through peer review, true?

              A.    I mean, it did. I’m amazed it did. I can't understand
                    how—they must have not had biostatistical review,
                    because that was amazing that that got through
                    without—

(Ex. 6, Kornak Dep. 106:21–107:3.)

              Q.    . . . Is there any possibility in your mind that the peer
                    reviewers could have missed the methodology point of
                    this study, particularly since it’s in the title of the article?

              A.    Oh, absolutely, I think they did miss it, yeah.

              Q.    Okay. All right. Now, the article, so you think that the
                    peer reviewers and the journal completely missed it?

              A.    Yes, I do. Yeah, I mean, it’s—they missed it. I don't
                    know what—I’m surprised that a journal would let
                    that go. I blame it probably on the associate editors
                    for not picking the right range of reviewers, but
                    nobody picked up on the biostatistical problems in
                    this paper.

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Id. at 164:22–165:15.

             Q.    I understand, but you’ve disagreed with the peer
                   reviewers, you’ve disagreed with the journal, and now
                   you’re disagreeing with the NIH, correct?

             ...

             THE WITNESS: You know, what you say explicitly is
                 correct, I'm disagreeing with all of them—

Id. at 174:7–14.

             Q.    And you claim that the authors, the peer reviewers and
                   everybody involved has missed it, right?

             A.    Sorry, what is it that you're talking about specifically?

             Q.    The methodology concerns that you identify in your
                   report, Exhibit 1.

             A.    They absolutely missed it, yes

Id. at 166:18–167:2. In fact, he went on to disagree with every scientist involved in

reviewing O’Brien 2024. Id. 399:2–407:5.

      Kornak went so far as to suggest that the courtroom, and not the scientific peer

review process, might be the place where issues concerning methodology of this study

should be resolved:

             Q.    Do you agree that, generally speaking, the peer-review
                   process and not the courtroom provides the best
                   mechanism for resolving scientific uncertainty relating
                   to methodologic analysis of complex scientific issues?

             A.    Well, it depends what you mean by “best” here, because
                   what the complex—I don’t know if peer review really
                   resolves complex scientific issues. . . .
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Id. at 184:23-185:8.

        For the reasons set forth below, the Court should exclude Kornak’s full throated-

attack on the peer-reviewed methods used in O’Brien 2024.

        In further support of this motion, the PSC offers a rebuttal report by Elizabeth

Stuart, Ph.D., the Chair of the Department of Biostatistics at Johns Hopkins University.

(Ex. 7, Rebuttal Expert Report of Elizabeth Stuart, Ph.D. (July 21, 2024).) Unlike Dr.

Kornak, Dr. Stuart has published numerous statistical articles on the very same statistical

method of “multiple imputation” that Dr. Kornak criticizes. Notably, Dr. Kornak cites

Dr. Stuart and her discussion of multiple imputation in support of his analyses.2 In her

rebuttal report, Dr. Stuart states as follows:

              . . . O’Brien et al.’s use of quantitative bias analysis and
              multiple imputation are appropriate and well considered,
              allowing the analysis to use all the prospective and
              retrospective data available and drawing appropriate
              conclusions regarding the links between genital talc use and
              ovarian cancer. As indicated and expected given its publication
              in a top peer-reviewed oncology journal it is an important
              contribution to the body of literature on the relationship
              between genital talc use and ovarian cancer and should be
              included when considering the weight of the evidence
              regarding such a link.

Id. at 1.




2
 Specifically, Dr. Kornak cites the paper by M. Azur (2011) in his own report at page
19, paragraph 44, footnote 59 (and again in App’x B to his report). As App’x B reveals,
Dr. Stuart is an author of the Azur (2011) paper.
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II.     Background.

        To appreciate the spurious nature of J&J’s expert’s methodologic criticisms of

O’Brien 2024, it is important to understand the Sister Study generally, several specific

talc use studies derived from Sister Study data, O’Brien 2024’s methodology, and,

finally, Kornak’s report. These are discussed in turn:

        A.    The Sister Study.

        The Sister Study is an NIH cohort of approximately 50,000 women, aged 35–74,

who never had breast cancer but who had a sister who had breast cancer.3 Enrollment in

the Sister Study was completed in 2009. It was established to find the causes of breast

cancer and to identify risk factors that might help prevent it.

        The scientists involved in the Sister Study are amongst the most senior and

qualified scientists at NIEHS. The Sister Study was initially established in 2003 by Dr.

Dale Sandler and Dr. Clarisse Weinberg, heads of the NIEHS Chronic Diseases

Epidemiology Group and NIEHS Biostatistics Branch, respectively.4 Both Dr. Sandler

and Dr. Weinberg appear on many of the Sister Study publications, including O’Brien

2024.5 In addition, NIH Scientist Katie O’Brien, Ph.D., and Nicholas Wentzensen, M.D.,




3
  Information on the Sister Study is available in Exs. 10, 12, and 1. It is also available
online at its web site, https://sisterstudy.niehs.nih.gov/.
4
  Their biographies are attached as Exs. 8 and 9.
5
  Ex. 10, NIEHS, Research Articles (list of Sister Study publications), available at
https://sisterstudy.niehs.nih.gov/English/articles.htm.
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Ph.D., have published several papers together on talc and ovarian cancer arising from

that cohort.6

        B.      The Gonzalez 2016 study.

        Gonzalez 2016 was the first publication based on the Sister Study to consider the

relationship between genital talc use and ovarian cancer. (Ex. 11, NL Gonzalez, KM

O’Brien, AA D’Aloisio, DP Sandler and CR Weinberg, Douching, Talc Use, and Risk of

Ovarian Cancer, 27 J. Epidemiology 797 (Nov. 2016).) At the time it was submitted for

peer review publication, there were 154 ovarian cancer cases available for study with a

median of only 6.6 years of follow-up. Id. at 797.

        Importantly for the purposes of this motion, the enrollment questionnaire used in

Gonzalez 2016 did not ask about the lifetime use of talc products, which is an important

scientific question in this case. Rather, the participants were asked about only two

limited and discrete periods of time—talc use between ages 10–13 years of age, and one

year before enrollment. (Ex. 11, Gonzales 2016 at 801, 798; see also Ex. 5, Kornak Rep.

5 ¶ 16.)

        To illustrate how limited this enrollment question was, the youngest Sister Study

enrollee (a 35-year-old woman) was asked only about talc use between ages 10–13 and

at age 34, but not including the 20 years between age 14 and 34. (Ex. 11 at 2 (age range

of participants was 35 to 74).) Even more extreme, that means the oldest enrollee, a 74-


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    Ex. 10.
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year-old woman, was asked about use between ages 10–13 and at age 73, but not about

talc use in the almost 50 years between ages 14 and 73. Thus, the enrollment

questionnaire left decades-wide gaps in talc use and corresponding data. See also Ex. 6,

Kornak Dep. at 210:5–211:20 (agreeing with description of questionnaire and presence

of decade-long data gaps).

      Because the women in the Sister Study were not initially asked about lifetime talc

use, or decades of talc use, the authors did not purport to estimate whether lifetime talc

use was associated with cancer risk, nor could they. The authors could only report results

suggesting that women were not at increased risk of ovarian cancer after 6.6 years if they

used talc a year before enrollment—in their words, “we did not observe an association

between recent talc use and ovarian cancer risk.” (Ex. 11, Gonzales 2016 at 7 (emphasis

added).)

      C.     The 2023 Douching Study.

      An attempt to fill the data gaps in genital talc use described in the Gonzalez 2016

was made by the authors of the 2023 “Douching Study.” (Ex. 12, K. O’Brien, K.

Ogunsina, N. Wentzensen, D. Sandler, Douching and genital talc use: Patterns of use

and reliability of self-reported exposure, J. Epidemiology, 2023 01:34 (3): 376 (May

2023).)

      In this study, the authors reported on the results of a followup questionnaire issued

to Sister Study participants in 2017–2019, asking them new questions about “their use of

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douche or genital talc over their lifetimes.” Id. at 376. (The new question is #138 on the

new questionnaire, Ex. 13.) As the authors noted, “[b]ecause the enrollment

questionnaire did not collect information on use between age 14 and >1 year prior to

enrollment, it was possible for a participant to report never use on the enrollment

questionnaire and ever use on the follow-up questionnaire without contradicting

themself.” Id. at 378. Even Dr. Kornak agreed that the supplemental questionnaire was

designed to solve this problem by closing the data gap. (Ex. 6, Kornak Dep. 212:9–

213:13.)

      The purpose of the 2023 Douching Study was to “capture patterns of use

[including talc] over the life course” and “evaluate the reliability of self-reported data.”

(Ex. 12, Douching Study at 376.) The authors compared the reliability of the results of

the limited, initial enrollment Sister Study questionnaire—which was prospective—with

the more comprehensive supplemental questionnaire—which was mostly retrospective.

The object was to see whether there was consistency, whether there was a difference

between what women reported prospectively and what was reported retrospectively.

Ultimately, the results showed that “[c]omparisons across the two questionnaires . . .

showed good consistency.” Id. The authors reported several other findings important to

this motion:

           • First, the authors reported that “genital talc use was most common during
             ages 20–29,” and that the average age at first use was 21.0 years. Id. at 378;
             see also id. at 381, Table 2.

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              These are the very periods not covered by the Sister Study enrollment
              questionnaire, but were covered by the supplemental questionnaire.

           • Second, the authors reported that there was “good consistency” between the
             two questionnaires, id. at 384, and limited evidence that “recall bias” might
             affect the data.

           • Third, because they validated their results, the Douching Study authors felt
             that finding “will help guide future investigations of the health effects” of
             talc. Id.

      Indeed, the Douching Study did guide future investigations: it paved the way to

the recent study, O’Brien 2024.

      D.      The O’Brien 2024 study.

      O’Brien 2024, Ex. 1, is the capstone study relevant to this motion. O’Brien 2024

addressed important questions left unresolved by Gonzalez 2016: the foremost of which

is, whether in this cohort study, the long term use of genital talc was associated with an

increased risk of ovarian cancer. The answer was Yes.

      To address this important question, the NIH investigators—including all of the

same authors from the 2023 Douching Study—used data from the original Sister Study

enrollment questionnaire as well as the expanded lifetime talc use information gleaned

through the new supplemental questionnaire described above. As the authors noted, the

exposure assessment used in O’Brien 2024 included a “mix of retrospective and

prospective information, integrating some of the strengths and limitations of each data

type.” Id. at 13. With the expanded lifetime talc use information now available to them,

the authors set out their objective:

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             Our main objective was to re-evaluate the associations between
             intimate care product use and incidence of hormone-related
             cancers, expanding on previous analyses, by incorporating
             newly diagnosed ovarian and uterine cancers, adding breast
             cancer as an outcome, and integrating new data on lifetime
             use of douche and genital talc.

Id. at 2 (emphasis added).

      While the limitations of the Sister Study enrollment questionnaire were obvious—

it simply did not ask for lifetime use during the very times when women were most

likely to use genital talc—the NIH authors had to address two issues raised by the new

supplemental questionnaire, the one that retrospectively asked about lifetime talc use:

      First, there was a concern that some data could be missing: some women who may

have filled out the limited questionnaire at enrollment into the Sister Study did not (or

could not) fill out the new supplemental questionnaire because, for example, they died of

cancer before they could do so. Id at 14. “Because the newly acquired exposure data

were susceptible to differential missingness by cancer status, we used quantitative bias

analysis to estimate effects under several missingness assumptions.” Id. at 2. Dr. Kornak

challenges the study’s use of quantitative bias analysis.

      Second, there was a concern over recall bias—the possibility that a woman with

ovarian cancer would be more likely to recall using talc and thus skew the results in

favor of association. The O’Brien 2024 study authors described their intent to take that

into account: “When examining the association between genital talc use and ovarian

cancer, we additionally evaluated the potential impact of recall bias.” Id. at 2.
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        So the authors responsibly identified both issues and set out their two-step plan for

analyzing them in their paper. They describe their methods in a lengthy seven-page

section, id. 2–8, plus a “supplemental methods” appendix, App’x 1. The sections titled

“Quantitative Bias Analysis” and “Recall Bias,” id. at 4, fully describe the methods used

to address these issues. With respect to the first step, quantitative bias analysis, the

authors provided a detailed plan for addressing “contradictory data,” and described a

common statistical method, multiple imputation, for dealing with “missingness.” Id. at

4.7 With respect to the second step, their “recall bias” plan used various scenarios to

“test” the data to determine how recall bias may have affected the results. Id. The

methods and their statistical analysis for both steps are set forth below.

        Quantitative Bias Analysis

        The O’Brien 2024 authors identified the multiple imputation statistical method as

coming from another published paper by White and Royston. Id. at 4, n 32 (paper

identified); Ex. 14, White and Royston, Imputing missing covariate values for the Cox

model, 28 Statist. Med. 1982 (2009).8 The O’Brien 2024 authors used multiple


7
  Dr. Stuart explained multiple imputation in a published article. Ex. 17, Li, Stuart, &
Allison, Multiple Imputation: A Flexible Tool for Handling Missing Data, 314 JAMA
1966 (Nov. 10, 2015). “Missing data are common in research. . . . When missing data
occur, it is important not to exclude cases with missing information . . . . Multiple
imputation better handles missing data by estimating and replacing missing values many
times.” Id. at 1966. In O’Brien 2024, the NIH investigators describe the multiple
imputation methods they used. (Ex. 1 at 4 & n.32.)
8
  White and Royston wrote: “Multiple imputation is commonly used to perform
statistical inference in the presence of missing data. Unlike simpler imputation methods,
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imputation to determine which of the women who did not (or could not) answer the

supplemental questionnaire would likely have used talc in their lifetime and which did

not. This standard statistical assessment was not based on assumptions or guesses, as Dr.

Kornak and J&J would insinuate. Rather, it is based on real answers to the incomplete

enrollment questionnaire, which never asked for information on lifetime use.

      Said another way, the O’Brien 2024 multiple imputation analysis was based on an

objective assessment of multiple sources of data the investigators had collected on each

woman, which were statistically correlated with either talc use or talc non-use.

      Using that data, and the data on women who had filled out both questionnaires,

lifetime genital talc use was associated with a 1.82 relative risk—an 82% increased

risk—which number was statistically significant. Id. at 12. The risk was even higher in

women who were long term users and women who began using in the 20’s and 30’s

(periods not covered in the enrollment questionnaire).

      Recall Bias Analysis

      As discussed, the NIH authors did not ignore the theoretical possibility that recall

bias might have inflated the statistically significant positive risk results. They addressed

the potential of recall bias head on. Id. at 4, App’x 1. Using another clearly-defined

methodology (which was also peer-reviewed), they discussed that their data findings


it can yield inferences that accurately reflect the uncertainty due to the missing data. MI
is typically more efficient than complete cases analysis when covariates have missing
values.” Ex. 14 at 1982.
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revealed a significant association between genital talc and ovarian cancer persisted even

if certain data were “re-cod[ed]” in an effort to address recall bias. Id. at 4. The authors

described different scenarios that would plausibly accomplish that. For example, “[w]e

assumed 25% of ovarian cancer cases” classified as users “were reassigned to be

nonusers.” Id. The authors computed “HRs based on this correction” in their results, and

concluded that they were “examples of plausible, yet cautious, estimates of the

association” between talc and ovarian cancer. Even after the hypothetical, exaggerated

corrections were applied, the results still showed a positive association, consistent with

dozens of other studies.

      To further test whether recall bias may have been introduced into their study, the

authors noted the following:

          • First, examining only at prospective data, which by definition cannot be
            subject to recall bias, the risk was still 1.84 (CI, 0.90 to 3.77), a value
            “consistent with a positive association.” Id. at 13; see also Table A-2.

          • Second, they noted that there was no increased risk for either breast cancer
            or uterine cancer—a finding at odds with the suggestion that talc use data
            collected through the “Quantitative Bias Assessment” (including “multiple
            Imputation”) was infected with “recall bias.” Id. at 12. See also Ex. 3,
            Harris, at 2 (“the lack of an association between genital powder use and
            uterine cancer provides additional support that recall bias does not fully
            explain the genital powder and ovarian cancer association”).




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       Overall Results

       In their Discussion section after this two-step analysis, the authors emphasized

that the Sister Study cohort showed a consistent elevated risk among all study types—a

position that has been highly disputed by J&J in all talc litigation. They wrote:

             Using newly collected data on intimate care product use in a
             large cohort of US women, we found evidence supporting a
             positive association between ever genital talc use and incident
             ovarian cancer.

             ...
             Our findings of a positive association between genital talc use
             and ovarian cancer are consistent with previous studies. Pooled
             analyses or meta-analyses of case-control studies have
             produced odds ratios of 1.2–1.4. The HR from a pooled
             analysis of prospective cohort studies also indicated a positive,
             albeit small association (HR = 1.08), and as previously noted,
             this effect estimate is likely biased toward the null because of
             nondifferential misclassification of exposure.

Id. at 13.

       As set forth more fully below, these methods (and results) were not only reviewed

by NIH, but peer-reviewed by the Journal of Clinical Oncology several times before

publication on May 15, 2024. Moreover, the article, its methods, and results were

reviewed and featured several times after publication, including by NIH in its press

release, Ex. 2; Drs. Harris, David, and Terry, who were invited to write the invited

editorial on the paper, Ex. 3; and also by the American Society of Clinical Oncologists,

Ex. 15, Study Finds Association Between Genital Talc Use and Increased Risk of

Ovarian Cancer, ASCO (May 15, 2024).
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III.   Dr. Kornak’s rushed critique is entitled to no deference and little weight.

       John Kornak, Ph.D. is a professor of biostatistics at the University of California—

San Francisco. He was hired by J&J to critique the peer-reviewed methods used by the

independent NIH investigators in O’Brien 2024. His litigation report, Ex. 5, was hastily

drafted in a matter of days, between May 20 and 28 of this year. In his report, Kornak

accuses the NIH authors of “guess[ing]” and “speculat[ing]” about missing data, id. at 18

¶ 40, 26 ¶ 59, calling into question the validated multiple imputation methodology they

used. Along the way, he parrots J&J talking points, using nonscientific phrases like

“flawed and unreliable,” “contrived,” and “vacuous.” Id. at 35 ¶ 72, 36 ¶ 74. These are

the hallmarks of an advocate, not a scientist.

       The very circumstances surrounding Dr. Kornak’s report suggest unreliability.

O’Brien 2024 was published on May 15, 2024. Within days of O’Brien 2024’s

publication, Dr. Kornak was contacted by the Cornerstone company retained by J&J’s

lawyers to address O’Brien’s methods. (Ex. 6, Kornak Dep. 16:2–11.) He got a copy of

O’Brien 2024 on May 20, which was the same day he met with J&J’s lawyers. Id. at

21:9–14. He hadn’t even read the full paper before talking with the attorneys—and in

fact, even today, he’s not sure if he has “ever read it from start to finish.” Id. at 26:4–23,

48:24–49:12 (emphasis added). Despite that lack of understanding, he understood that

the goal of the May 20 meeting was to hire him to write a litigation report by May 28,

which he agreed to do. Id. at 22:10–18.

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      By May 22—meaning, within two days of meeting with the lawyers, and less than

two days of reading any piece of O’Brien 2024 for the first time, Dr. Kornak had

formulated his opinions that the article written by these preeminent NIH Scientists had

“problems.” Id. at 55:2–16. Dr. Kornak was not sure when he (or others) had formulated

the descriptive words “flawed and unreliable,” but his testimony was that he probably

had reached that opinion by May 23. Id. at 50:6–12, 51:18–53:16, 58:5–18.

      Dr. Kornak didn’t write his report all by himself. In fact, he met with or had calls

with Cornerstone, the expert search company, on May 20, 21, 22, 26, 27, 28, and 29. Id.

at 45:6–16. Cornerstone did some of his research for him. Id. at 48:2–9. Dr. Kornak

finalized his litigation report and signed it eight days after being hired, on May 28. Id. at

24:3–14.

      While the report itself covers multiple issues and criticisms, most of the report

focuses on O’Brien 2024’s quantitative bias assessment. Specifically, Dr. Kornak focuses

on the authors’ use of multiple imputation—one of their quantitative bias tools—to

address women who were not able to complete the supplemental questionnaire on

lifetime talc use. At his core, Dr. Kornak believes that O’Brien 2024 should have used

only the Sister Study enrollment questionnaire talc use data “as is,” Ex. 5, Kornak Rep.

13 ¶ 28, and should have wholly ignored the talc use data on lifetime talc use from the

supplemental questionnaire, id. at 13–14 ¶¶ 28–31. Put another way, Dr. Kornak

advocated using talc use data which even he admitted included only four years of talc

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use data (ages 10–13 and one year before enrollment) and calling it “‘ever’ use” data. Id.

at 14 ¶ 30. He does not dispute that his approach would have excluded dozens of years

of talc use data collected from women on the supplemental questionnaire. Astonishingly,

he further advocated that the O’Brien 2024 authors should have (mis)represented the

four years’ use result as their “main result.” Id. at 14 ¶ 31. While Kornak agreed that his

proposal to ignore some of the available use data would have been misleading, that did

not bother him. He testified: “Why ruin a perfectly good analysis by throwing your

[imputation] calculations in?” (Ex. 6, Kornak Dep. 283:5–9, 283:5–289:22 (fuller

discussion).)

      Separately, Kornak testified that he had not read key articles before formulating

his slanted opinions. One such article, published by White and Royston, Ex. 14, was the

sole methods paper cited by the O’Brien 2024 authors to support their multiple

imputation model. Kornak failed to cite or even fully read it. (Ex. 6, Kornak Dep.

320:15–321:1 (“I looked at it. I didn’t go through it in detail.”).) Since that was the

only paper cited by the authors in support of their multiple imputation model, Kornak

was given a break during his deposition to read it. Despite this allowance for Kornak to

read this critical study, he testified that, during the deposition break, he merely scanned

it. Id. at 324:12–325:5 (“I had an opportunity to scan it . . . just from now, my quick

look, you know, that would be a paper that would take days to carefully look at”).



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        That’s a concession, by the way, from Dr. Kornak that he wrote his own report,

criticizing O’Brien 2024, without taking the “days” it would take to understand the

foundation of their work. This is not sound science.

        Similarly, Dr. Kornak’s Report cited another Sister Study paper by Chang,

O’Brien and others,9 in support of several of his key opinions. (Ex. 5, Kornak Rep. 25

¶ 54 (citing Chang).) But on questioning, he admitted that: “I don’t think I read it

completely . . . I assumed I looked at the paper.” (Ex. 6, Kornak Dep. 393:10–20.)

        Kornak’s abject failure to actually read key methodologic articles—particularly

the methods paper relied on by the O’Brien authors—the incendiary language used

throughout the report, and the fact that there were almost daily meetings with the “legal

team” or “Cornerstone” in the eight days leading to the filing his report raises the specter

that parts of his report were actually written by, or at least guided by, J&J’s lawyers and

their contractor.

        Ultimately, Kornak expresses a hindsight opinion that takes issues with:

           • The independent NIH Sister Study—a study and authors J&J previously
             vouched for: “I mean obviously I’m sitting here in a position where I can
             retrospectively pontificate about what I would have done. But . . . you really
             ought to have designed the study in the first place to answer the questions
             you want to answer.” Id. at 284:18–286:5;


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 Chang, C. J., O’Brien, K. M., Keil, A. P., Goldberg, M., Taylor, K. W., Sandler, D. P.,
& White, A. J., Use of personal care product mixtures and incident hormone-sensitive
cancers in the Sister Study: a US-wide prospective cohort, Environment Int’l, 183,
108298 (2024), available at https://doi.org/10.1016/j.envint.2023.108298.
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           • The peer review process which confirmed and validated the researchers’
             work: “I am frankly stunned that the peer-review process did not catch
             this catch the problems in this analysis.” Id. at 363:17-22 (emphasis
             added); and

           • The NIH itself, which featured the article: “I don’t believe that these
             people have in any way examined the methods in the paper.” Id. at
             178:4–6.
IV.   Argument.

      The Court should exclude Kornak’s testimony for two reasons. First, the O’Brien

2024 study contained a scientifically accepted methodology that deserves deference.

Second, Kornak fails both the reliability and fit prongs of admissible expert testimony.

      A.      The “quantitative bias analysis” methods of the O’Brien 2024 study
              deserve deference.

      As discussed in detail, O’Brien 2024 was a peer-reviewed scientific study that

fully disclosed a reliable methodology. “The fact that a study has been subject to peer

review ‘does not equate with reliability,’ but it does suggest that good science was used

by the authors.” In re Johnson & Johnson, 509 F. Supp. 3d 116, 143 (D.N.J. 2020)

(emphasis added); see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593

(1993) (“submission to the scrutiny of the scientific community is a component of ‘good

science,’ in part because it increases the likelihood that substantive flaws in methodology

will be detected.”).

      Recognizing that the methods employed by the independent O’Brien 2024 authors

passed multiple levels of peer review, Dr. Kornak suggests that this courtroom might be


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the best place to challenge the methods employed by the experienced NIH researchers

because, in his view, he “do[es not] know if peer review resolves complex scientific

issues.” (Ex. 6, Kornak Dep. 184:23-185:8.) Astonishingly, Dr. Kornak wants to bring

his non-peer-reviewed opinions to this Court because the peer reviewers “missed it,” id.

at 166:18–167:2; the associate editor of the Journal of Clinical Oncology “ignored it,” id.

at 167:4–8; the NIH “didn’t examine” it, id. at 177:7–178:6; and the American Society of

Clinical Oncology “took what’s in O’Brien at face value,” id. at 187:3–23.

      Kornak’s haphazard rebuke is simply not how courts in this Circuit look upon the

peer review process. See e.g., Kolokowski v. Crown Equip. Corp., No. 05-4257, 2009

WL 2857957, at *10 (D.N.J. Aug. 27, 2009) (noting that “the dearth of peer reviewed

literature counsels against the admission of” an expert). This is particularly true for an

article like O’Brien 2024, which carries multiple indicia of reliability. Its authors are

independent, senior researchers at NIH; they have published on talc and ovarian cancer

since 2016. The article was submitted for peer review to the Journal of Clinical

Oncology in September 2023, received that peer review, was revised in response to

comments from the review, was resubmitted in January 2024, and was accepted for

publication in March 2024. (Ex. 16, O’Brien 2024 Publication History.) Even then, NIH

had to review the final pre-publication copy before it was published on May 15, 2024.

(Ex. 6, Kornak Dep. 170:7-15.) In conjunction with that, the Harris authors wrote their

editorial on its methods, Ex. 3; the NIH publicized the article, Ex. 2; and even the

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American Society of Gynecologic Oncology amplified the study, Ex. 15. This is a robust

peer review and approval process by anyone’s lights.

      Ultimately, O’Brien 2024’s multiple peer review steps are an emblem of “good

science,” In re Johnson & Johnson, 509 F. Supp. 3d at 143, and the study should be

given deference by the Court.

      B.     Dr. Kornak’s litigation-created report is biased and not reliable.

      The facts surrounding Kornak’s drafting of his opinion lay the foundation of

unreliability and inappropriate bias. An expert opinion that presents conclusions without

any support, or “evidence that is connected to existing data only by the ipse dixit of the

expert,” may be excluded as unreliable. Gen. Elec. Co. v. Joiner, 522 U.S. 137, 146

(1997); see also In re Johnson & Johnson, 509 F. Supp. 3d at 194 (ignoring “highly

relevant” evidence warrants exclusion). “If an opinion is fundamentally unsupported,

then it offers no expert assistance to the jury.” Viterbo v. Dow Chem. Co., 826 F.2d 420,

421 (5th Cir. 1987).

      With the involvement of both J&J’s legal team and Cornerstone, Dr. Kornak

formulated an unsupported opinion that O’Brien 2024 multiple imputation technique had

“problems.” Indeed, Dr. Kornak agreed to write his litigation report before he fully read

O’Brien 2024. Dr. Kornak’s report is chock full of superlatives and is more akin to one

of J&J’s legal briefs than to a scholarly paper. Without support, Kornak calls aspects of

the paper “flawed,” “contrived,” “vacuous” and claims that the peer reviewers, including

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NIH, did not see what he saw. But despite this Dr. Kornak’s self-proclaimed confidence,

he has “no intention” of ever expressing his opinions “outside the Courtroom.” (Ex. 6,

Kornak Dep. 404:17–22.)

      Dr. Kornak’s methods in his assignment here were slapdash and not representative

of considered science. In Dr. Kornak’s deposition, he first suggested that he had written

on multiple imputation in two articles on his curriculum vitae. However, when

confronted with fact that neither paper even mentions “imputation,” he backtracked. Id.

at 93:17–97:15. Dr. Kornak even testified that he failed to read key papers that he was

provided and claimed to have relied upon in his report. Id. at 26:11–16, 320:15–321:1,

324:12–325:8.

      A particularly important illustration of the slapdash way Dr. Kornak approached

his charge is highlighted in his criticism of the O’Brien 2024 author’s decision to include

“cancer outcomes” in their imputation model. (Ex. 5, Kornak Rep. 25–26 ¶¶ 56–58.)

Kornak was clear that this was one of his main criticisms of O’Brien 2024. (Ex. 6,

Kornak Dep. 301:3–8.) According to his testimony, including cancer status (ovarian

cancer) in the imputation model was a fatal flaw, because it created a “feedback loop”

and generates a larger hazard ratio. (Ex. 5, Kornak Rep. 25 ¶ 57; Ex. 6 Kornak Dep.

310:3–314:17.) Kornak chided the O’Brien authors—and by extension, all the peer

reviewers—for making an error he claims falsely “prop[ped] up” the association and

renders their conclusions “unverifiable.” (Ex. 5, Kornak Rep. 25–26 ¶¶ 57–58.)

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      The problem with Kornak’s criticisms of O’Brien’s inclusion of cancer status in

the imputation model is that his criticism is demonstrably wrong (and for a sloppy

reason). Not only does Kornak not cite any authority for the proposition that “cancer

status” should not have been included in their imputation model, but he also did not

address (or even know) the O’Brien 2024 authors cited authority for including it. (Ex. 6,

Kornak Dep. 314:18–316:23.) The paper that O’Brien cited for including ovarian cancer

in the model is the one by White and Royston, Ex. 14, and is clearly set forth in O’Brien

2024’s methods section, Ex. 1 at 4 n.32.

      When asked about this, Kornak admitted that the authors cited it:

            Q.     All right. And you don't discuss that paper at all in your
                   report, do you?

            A.     No.

            ...

            Q.     Okay. And this is the paper upon which the authors rely
                   for including cancer status in their multiple imputation
                   model, correct?

            A.     I think they use the paper to try and point out—to kind
                   of, like, say what the method is that they’re using for
                   kind of incorporating that data rather than as a
                   justification, but—

            Q.     Well, they’re basically saying we applied, we applied a
                   multiple imputation methodology that was in the
                   published literature and here it is at footnote 42 for the
                   world to see, right? They just didn't say it without
                   attribution, true?


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            A.     Yeah, again, they're just saying this is the way they dealt
                   with incorporating the outcome into their imputation log.

(Ex. 6, Kornak Dep. 315:10–316:23.)

      Contrary to Kornak’s unsupported assertion that cancer status should not have

been used in the imputation model, White and Royston make clear that the association

being assessed—in this case ovarian cancer—must be included in the imputation

model, just as O’Brien 2024 stated it should:

            The choice of variables in the imputation model is crucial: in
            particular, any association to be assessed in the analysis model
            must be allowed for in the imputation model, for otherwise bias
            towards the null is likely. When the incomplete data are
            covariates in the analysis model, the analysis model outcome
            must be used to predict the missing covariate values. Although
            this practice may seem counter-intuitive, it is in fact essential.

(Ex. 14, White and Royston, at 1983 (emphasis added).)

      When confronted with this clear omission, Kornak stated that he would “really

have to sit down and look at the context”—which he had failed to do before signing

his report. (Ex. 6, Kornak Dep. 320:10-14.) The fact that Dr. Kornak had not even read

O’Brien 2024’s justification for including cancer status in their imputation model—

much less addressed it—is but one example of the carelessness and thoughtlessness he

employed throughout his report.




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V.    Conclusion.

      Dr. Kornak’s proffered testimony is based entirely on speculation and constitutes

textbook ipse dixit that courts do not allow. Since Dr. Kornak cannot substantiate or

support his proffered testimony, it should not be heard by any jury.

      For these reasons, the Court should exclude the opinions and testimony of Dr.

Kornak. The PSC further requests that the Court accept and consider the rebuttal report

of Dr. Stuart, Ex. 7, to address J&J’s criticisms of O’Brien 2024.

                                        Respectfully submitted,

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